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                                 ORDERED.
     Dated: March 24, 2025




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION
IN RE:

EDGAR C. GODFREY, III and
NANCY JO GODFREY,                                  Case No. 2:23-bk-01370-FMD

         Debtors.
                             /

KIMBERLY WHELPLEY and
COASTAL RESOURCE STAFFING, LLC,

         Plaintiffs,
                                                   Adv. Pro. No.: 2:24-ap-0009-FMD
v.

EDGAR C. GODFREY, III and
NANCY JO GODFREY,

         Defendants.
                                      /

 AGREED ORDER GRANTING MOTION TO CONTINUE HEARING ON SUMMARY
    JUDGMENT SET FOR MARCH 24, 2025 AT 11:00 A.M. AND RESETTING
     DEADLINE FOR FILING MOTIONS FOR SUMMARY JUDGMENT AND
            ESTABLISHING CASE MANAGEMENT SCHEDULE

         THIS CAUSE came on for consideration of the Motion to Continue Hearing on

Summary Judgment Set for March 24, 2025 at 11:00 A.M (Doc. No. 40) (the “Motion”). By
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submission of this order for entry, the submitting counsel represents that the Defendants and

Plaintiffs each agree to the form of this order and the relief contained herein, and the Court

having reviewed the Motion and having been otherwise sufficiently advised, has determined that

it is appropriate to enter this order. Accordingly, it is,

                ORDERED:

        1.      The Motion is GRANTED.

        2.      Responses to all outstanding discovery requests shall be due within twenty-one

(21) days of the date of this order.

        3.      All motions for summary judgment, with supporting affidavits and evidence,

must be filed on or before July 1, 2025.

        4.      Responses to the motions are due on or before July 28, 2025.

        5.      Any replies shall be due on or before August 4, 2025.

        6.      A hearing on all motions for summary judgment will held on August 26, 2025 at

10:00 am         in Courtroom 9A, 801 N. Florida Avenue, Tampa, Florida. All parties may

attend the hearing in person. Parties are directed to consult Judge Delano’s Procedures Governing

Court Appearances, available at https://www.flmb.uscourts.gov/judges/delano, regarding

policies and procedures for attendance at hearings by video or telephone via Zoom. If you

are unable to access the Court’s website, please contact the Courtroom Deputy at

813-301-5195 no later than 3:00 p.m. one business day before the date of the hearing.



Attorney Benjamin G. Martin, Esq.,is directed to serve a copy of this Order on interested parties
who do not receive service by CM/ECF and to file a proof of service within three days of the
entry of this Order.
